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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                   Plaintiff,             )
                                          )                  Civil Action No. 99-CV-02496 (GK)
              v.                          )
                                          )                  Next scheduled court appearance:
PHILIP MORRIS USA INC.,                   )                  _____________, 2004
f/k/a PHILIP MORRIS INC., et al.,         )
                                          )
                   Defendants.            )
__________________________________________)


                                          ORDER NO.

       UPON CONSIDERATION OF the United States' Motion In Limine to Exclude the

Testimony of J. Howard Beales III, Ph.D., at Trial, Joint Defendants' opposition, the United

States' reply, and the entire record herein, this ___ day of _______________, 2004, it is

       ORDERED that the United States' Motion In Limine to Exclude the Testimony of J.

Howard Beales III, Ph.D. at Trial is GRANTED; and, it is

       FURTHERED ORDERED that the testimony of J. Howard Beales III, Ph.D., be

excluded from the trial of this action.


                                                      _______________________________
                                                      GLADYS KESSLER
                                                      UNITED STATES DISTRICT JUDGE


cc: all counsel of record
